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                                                                              Case No. A-201-845
                                             Suspension Agreement: CSC Sugar CIT 17-215 Litigation
                                                                               Case No. C-201-846
                                             Suspension Agreement: CSC Sugar CIT 17-214 Litigation
                                                                                   Total Pages: 431
                                                    AD/CVD Operations, Enforcement & Compliance
                                                                              PUBLIC VERSION
                                                   BPI redacted from Attachment 1 and Attachment 2


October 4, 2018

VIA IA ACCESS

The Honorable Wilbur Ross
Secretary of Commerce
Attn: Enforcement & Compliance
APO/Dockets Unit, Room 18022
14th St. & Constitution Ave., N.W.
Washington, D.C. 20230

Re: Submission of Ex Parte Communications to the Administrative Record

Dear Secretary Ross:

         On behalf of the Government of Mexico and pursuant to the Department’s

memoranda of September 24 and 28, 2018, we are submitting the ex parte correspondence

released to us by the Department with proprietary designations.

         Pursuant to 19 C.F.R. § 351.105(c)(11), we request proprietary treatment for the

bracketed information in the proprietary version of this submission. Although the

correspondence at issue was submitted by or sent to the Government of Mexico, it contains



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Page2



confidential information of the Mexican sugar industry and its members related to their

market strategies and negotiating positions. The submission also contains confidential

information pertaining to internal Mexican government processes, procedures and

strategies that is not publicly available. Disclosure of the confidential information

contained therein would cause substantial harm to the competitive position of relevant

parties, would hinder the ability of the Government of Mexico to participate in negotiations

and obtain information in the future, and may impair the ability of the Department to obtain

necessary information to perform its statutory functions. All of the communications were

made in the expectation that they would be maintained as confidential.

       Counsel for the Government of Mexico has consulted with counsel for the

American Sugar Coalition, the CAMARA, and Imperial Sugar Company, who are in

agreement that the information of each shared by the Department during the negotiations

should be treated as proprietary.

       In Attachment 1, we have provided documents the Department identified as relating

only to the Government of Mexico, and in Attachment 2, we have provided documents the

Department identified as relating to both the Government of Mexico and the CAMARA.

        A public version omitting proprietary information is being filed concurrently with

the business proprietary version. Proprietary information is redacted in the public version.




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Page 3



        We are electronically filing this submission and copies of this document have been

served on the parties identified in the attached certificate of service.

        If you have any questions regarding this submission, please contact me.



                                               Respectfully submitted,

                                                    He:-~
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                                               Sahar J. Hafeez

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                Sugar From Mexico, Case No. 201-846 Suspension Agreement

 I, Stephan E. Becker, hereby certify that on this date, copies of the enclosed PUBLIC submission were
 served via hand-delivery or first class mail on the parties listed below:

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                                      ""'   Stephan E. Becker

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                                               Exhibits



Attachment 1:         Documents relating only to the Government of Mexico



Attachment 2:         Documents relating to both the Government of Mexico and CAMARA




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                               ATTACHMENT 1
     DOCUMENTS FOR THE GOVERNMENT OF
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PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    061-20161209-71844
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PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   155-20170524-110353
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 46 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    172-20170603-40332
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 47 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                  172-20170603-40332-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 48 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    173-20170603-54418
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 49 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    179-20170605-22242
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 50 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   179-20170605-22242-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 51 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    181-20170605-92932
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 52 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    183-20170605-14507
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 53 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    188-20170605-44559
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 54 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED 188-20170605-44559-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 55 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    189-20170605-51745
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 56 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    191-20170605-52623
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 57 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   193-20170606-125657
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 58 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED193-20170606-125657-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 59 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    212-20170608-44328
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 60 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                        212-20170608-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 61 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   212-20170608-44328-02
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 62 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    213-20170608-53656
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 63 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    214-20170608-55147
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 64 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    215-20170608-62343
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 65 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    217-20170609-12253
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 66 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    224-20170611-95439
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 67 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   228-20170612-125838
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 68 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   228-20170612-125838-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 69 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    228-20170612-125838-02
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 70 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    231-20170612-50916
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 71 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    232-20170612-51231
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 72 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    233-20170612-51900
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 73 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    239-20170613-20443
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 74 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    239-20170613-20443-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 75 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    243-20170613-44703
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 76 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                     243-20170613-44703-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 77 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                       243-20170613-44703-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 78 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    246-20170613-74400
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 79 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    247-20170613-75736
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 80 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                       247-20170613-75736-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 81 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    247-20170613-75736-02
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 82 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   247-20170613-75736-03
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 83 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   247-20170613-75736-03
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 84 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    252-20170626-23200
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 85 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    253-20170626-64345
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 86 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    257-20170629-44230
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 87 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    258-20170629-55702
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 88 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    264-20170630-44341
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 89 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    264-20170630-44341-02
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 90 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    265-20170630-51300
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 91 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                   265-20170630-51300-01
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 92 of 122
PUBLIC VERSION – BUSINESS PROPRIETARY INFORMATION REDACTED                    266-20170630-53800
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




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          PUBLIC SUMMARY




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    Case 1:17-cv-00215-LMG Document 71-10               Filed 10/11/18      Page 93 of 122
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement   -   CSC Sugar CIT 17-215 litigation




                               ATTACHMENT 2
   JOINT DOCUMENTS FOR GOVERNMENT OF
           MEXICO AND CAMARA




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042 - 20161117-62110             PUBLIC VERSION
    Case 1:17-cv-00215-LMG Document 71-10 Filed 10/11/18                   Page 94 of 122
                           BUSINESS PROPRIETARY INFORMATION REDACTED
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement - CSC Sugar CIT 17-215 litigation




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042 - 20161117-62110-01          PUBLIC VERSION
    Case 1:17-cv-00215-LMG Document 71-10 Filed 10/11/18                   Page 95 of 122
                           BUSINESS PROPRIETARY INFORMATION REDACTED
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement - CSC Sugar CIT 17-215 litigation




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046 - 20161122-55102             PUBLIC VERSION
    Case 1:17-cv-00215-LMG Document 71-10 Filed 10/11/18                   Page 96 of 122
                           BUSINESS PROPRIETARY INFORMATION REDACTED
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement - CSC Sugar CIT 17-215 litigation




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046 - 20161122-55102-01          PUBLIC VERSION
    Case 1:17-cv-00215-LMG Document 71-10 Filed 10/11/18                   Page 97 of 122
                           BUSINESS PROPRIETARY INFORMATION REDACTED
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement - CSC Sugar CIT 17-215 litigation




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048 - 20161128-45700             PUBLIC VERSION
    Case 1:17-cv-00215-LMG Document 71-10 Filed 10/11/18                   Page 98 of 122
                           BUSINESS PROPRIETARY INFORMATION REDACTED
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement - CSC Sugar CIT 17-215 litigation




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048 - 20161128-45700-01          PUBLIC VERSION
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                           BUSINESS PROPRIETARY INFORMATION REDACTED
  Barcode:3759600-01 A-201-845 SUSP - Suspension Agreement - CSC Sugar CIT 17-215 litigation




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053 - 20161201 -73945            PUBLIC VERSION
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065 - 20161213-100600            PUBLIC VERSION
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130 - 20170429-122446           PUBLIC VERSION
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143 - 20170515-90001 -01         PUBLIC VERSION
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163 - 20170601 -103127-01        PU BLIC VERSION
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270 - 20170630-72622-01          PUBLIC VERSION
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270 - 20170630-72622-02          PUBLIC VERSION
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271 - 20170630-73043-01          PUBLIC VERSION
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